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:l:N THE: uNITED sTATEs DISTRICT couRT F"'E° BY-~ D.c.
Fon THE wEsTERN DISTRICT 0F TENNESSEE
wEsTERN DIvIsIoN D5AU622 PH k:37
CU_UB"IZWQ;CTGOURT
UNITED sTATES oF AMERICA, WDG M£.M

Plaintiff,
vs. CR. NO. 05~20048-Ma

DAVID BEAU WARREN ,

~_/~_/\.z`._/\._.~\-._r-._/~_/~_/

Defendant.

 

OR.DER ON CONTINUANCE AN`.D SPECIFYING PER.IOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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:l:T :l:s so onDERED this day of August, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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with R.l|e 55 and/or 32(b) FRCrP cm '

 

1STIC COURT -WESTER DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
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Honorable Samuel Mays
US DISTRICT COURT

